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 4
     Attorney for ROBB CHEAL
 5

 6                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                   ) No. 12-185 TLN
 8
                     Plaintiff,                      )
 9                                                   ) STIPULATION AND [PROPOSED]
             v.                                      ) ORDER DELETING PARTICIPATION IN
10                                                   ) THE BETTER CHOICES COURT PROGRAM
                                                     )
11
     ROBB CHEAL,                                     ) Date:
12
                                                     ) Time:
                     Defendant.                      ) Judge: Hon. Allison Claire
13   ================================)
14           Robb Cheal’s special conditions of pre-trial release are found in ECF document 255.
15   Condition number 15 reads:
16    15. You shall participate in the Better Choices court program and comply with all the rules and
     regulations of the program. You shall remain in the program until released by a pretrial services officer.
17
     In accordance with this condition, you must appear before the Allison Claire, courtroom 26, on November
18
     21, 2017 at 10:30 AM.

19
             At the suggestion of PTS Officer Alicia Mirgain, the parties are requesting that the Court

20
     order Special Condition 15 be deleted. After Mr. Cheal’s successful completion of the

21
     Wellspace residential treatment program in October, Pretrial Services no longer believes BCCP

22
     is necessary.

23

24   Dated: December 11, 2018                                 Respectfully submitted,

25                                                            /s/ Michael D. Long
26                                                            MICHAEL D. LONG
                                                              Attorney for Robb Cheal
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 1   Dated: December 11, 2018                           McGREGOR SCOTT
                                                        United States Attorney
 2

 3                                                      /s/ Jason Hitt
                                                        JASON HITT
 4                                                      Assistant U.S. Attorney
 5
                                 [PROPOSED] ORDER
 6
           GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
 7
           The Court orders that Mr. Cheal’s Special Condition 15 is hereby deleted.
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 9   Dated: December 12, 2018
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